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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

GILBERTO RAMIREZ, JR. and                          §
MONTANA RAMIREZ,                                   §
                                                   §
        Plaintiffs,                                §
                                                   §
v.                                                 §           CIVIL NO. 1:22-cv-00228
                                                   §
FREEDOM MORTGAGE                                   §
CORPORATION,                                       §
                                                   §
        Defendant.                                 §

                              JOINT NOTICE OF SETTLEMENT

        COME NOW Plaintiffs Gilberto Ramirez, Jr. and Montana Ramirez (“Plaintiffs”) and

Defendant Freedom Mortgage Corporation (“Defendant,” and collectively with Plaintiffs, the

“Parties”), and hereby notify the Court that the Parties have settled the issues relating to the matters

presented in this suit.

        The Parties anticipate that they will require approximately 30 days to finalize and file

dismissal documents disposing of this suit. The Parties request that the court retain this case on

the docket for an additional 30 days, so that they may finalize and file the appropriate dismissal

documents.

        Respectfully submitted on this 1st day of August, 2022.


                                                        By: /s/ Kathryn B. Davis
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                                     AND


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